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3    Roseville, CA 95661
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4
     Attorneys for Plaintiff
5

6
                               IN THE UNITED STATES DISTRICT COURT
7
                  NORTHERN DISTRICT OF CALIFORNIA – SAN JOSE DIVISION
8

9
     EVANGELINE LLAMAS,                                Case No.: 5:16-CV-02163-BLF
10
                                                       STIPULATION TO DISMISS DEFENDANT
11                             Plaintiff,              COLUMBUS BANK AND TRUST
                                                       COMPANY; PROPOSED ORDER
12          v.
13

14    EQUIFAX, INC.; et. al.,
15

16                         Defendants.
17

18   TO THE COURT, CLERK OF COURT, AND ALL PARTIES:
19          IT IS HEREBY STIPULATED by and between plaintiff Evangeline Llamas and
20   defendant Columbus Bank and Trust Company, that Columbus Bank and Trust Company be
21   dismissed from this action with prejudice pursuant to Federal Rules of Civil Procedure, section
22
     41(a)(2), and that each party shall bear its own attorneys’ fees and costs.
23
     //
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     //
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     //
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     //
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     //
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                        STIPULATION TO DISMISS DEFENDANT; PROPOSED ORDER - 1
               Case 5:16-cv-02163-BLF Document 71 Filed 12/11/18 Page 2 of 2




1

2
     DATED: December 11, 2018                  Sagaria Law, P.C.

3                                              By:          /s/ Elliot W. Gale
                                                                     Elliot W. Gale
4
                                               Attorneys for Plaintiff
5                                              Evangeline Llamas
6
     DATED: December 11, 2018                  Alston and Bird LLP
7

8
                                               By:          /s/ Michael James Barry
9
                                                                 Michael James Barry
10                                             Attorneys for Defendant
                                               Columbus Bank and Trust Company
11

12

13

14   I, Elliot Gale, am the ECF user whose identification and password are being used to file this

15   Stipulation. I hereby attest that Michael James Barry has concurred in this filing.

16   /s/ Elliot Gale

17

18
                                              [PROPOSED] ORDER
19

20           Pursuant to the stipulation of the Parties, Defendant Columbus Bank and Trust Company

21   is dismissed with prejudice, with each party to bear its own attorney’s fees and costs.

22           IT IS SO ORDERED.
23

24
     DATED: 'HFHPEHU
25
                                                   Beth L. Freeman
26
                                                   UNITED STATES DISTRICT JUDGE
27

28




                       STIPULATION TO DISMISS DEFENDANT; PROPOSED ORDER - 2
